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                             UNITED STATES DISTRICT COURT
                             NORTHERN DISTRICT OF ILLINOIS
                                   EASTERN DIVISION                            13cv5930
                                                                               Judge Castillo
 UNITED STATES OF AMERICA, ex rel                            Case   No.   13   Mag Judge Gilbert
 RICHARD J CARMEL aNd STATE OF ILLINOIS,
 ex TeI RICHARD J CARMEL,                                    Hon.
        Plaintiff-Relator,                                   MATTER FILED IN CAMERA
                                                             AND UNDER SEAL
 V


 CVS CAREMARK CORPORATION,
 d/b/a CVS PHARMACY,
 SILVERSCRIPT, and LONGS DRUG
 STORES, a foreign corporation,
                                                                           Fstuffitr3
        Defendant.
                                                                               AUG2020t3
By: Terence Buehler                                                                                  J
                                                                                                    L'
Touhy, Touhy & Buehler                                                    TH0MAS    G nfttj
Attorney for Plaintiff-Relator                                      ^._                       toN
                                                                    CLERK,     ll.s DISTntcl COURT
55 Wesi Wacker Dr., 14th floor
Chicago, IL 60601

      COMPLAINT FOR VIOLATION OF FALSE CLAIMS ACT (OUI TAM). ANTI.
     KICKBACK STATUTE. CIVIL MONETARY PENALTIES AND TIIE MBDICAIT)
             FALSE CLAIMS ACT AND DEMAND FOR JURY TRIAL

       Plaintiff-Relator, Richard J Carmel, for himself and on behalf of the United States of

America and the State     of Illinois, by and through his     attorneys, TOUHY, TOUHY &

BUEHLER, hereby files this Complaint under the False Claims Act (sometimes, the "FCA"),

31 U.S.C. g 3729, et seq., (sometimes, the "Anti-kickback Statute," see 42 U.S.C. gg 1320a-

7(b)(7) and l32Oa-7b(b)), the Civil Monetary Penalties Law (sometimes, the "CMPL",42

U.S.C. $$ 1320a-7(bx7) andl32Oa-7a), and the Illinois Medicaid False Claims Act, MCL

400.601 et seq. (collectively, the "Acts") and states as follows:

                               JURISDICTION AND VENUE

       This action arises under the Acts and the common law to recover treble damages and
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civil penalties on behalf of the United States of America          and the State   of Illinois arising out of

the Defendant's submission of fraudulent claims to the United States and the State of Illinois

Governments through the federal Medicare and the federal and state Medicaid programs.

        1.       31 U.S.C. S 3732 provides that this Court has exclusive jurisdiction over actions

brought under the federal FCA and concurrent jurisdiction over state claims arising from the

transactions giving rise to the claims under such Act. In addition, jurisdiction over this action is

conferred on the Court by 28 U.S.C. $ 1345 and 28 U.S.C. $ 1331 because the civil action arises

under the laws of the United States. Further, the Court has jurisdiction under 31 U.S.C.                   g


3732(b) for any action brought under the laws of any state for the recovery of funds paid by

state or local government      if   the action arises from the same transaction or occurence as an

action brought under * 3732.

        2.       Venue is proper in this district pursuant to 28 U.S.C. $ 1391, dealing with venue

generally, and specifically under      * 3732(a) of the False Claims Act which provides that, "Any
action under section 3730 may be brought in any judicial district in which the defendant or, in

the case of multiple defendants, any one defendant can be found, resides, transacts business, or

in which any act proscribed by section 3729 occuned." The conduct which is the subject of this

action occurred in Northern Illinois, including but not limited to Highland Park, in the State of

Illinois, within this judicial district,   as   well as elsewhere throughout the United States.

        3.       Under the False Claim Act, this Complaint is to be filed in-camera and remain

under seal for a period of at least sixty (60) days, and under the Medicaid False Claims Act

the complaint is to be filed in-camera and remain under seal for a period of at least sixty (60)

days and shall not be served on defendants until the Court so orders. The federal government

may elect to intervene and proceed with the action within sixty (60) days after                 it receives
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both the Complaint and the material evidence and the state government may elect to

intervene and proceed with the action within sixty (60) days after            it   receives both the

Complaint and the material evidence.

        4.     As required under $ 3730(aX2) of the FCA, Relator has provided to                 the

Attorney General of the United States and to the United States Attorney for the Northern District

of Illinois, prior to the filing of this Complaint,    statements   of all   material evidence and

information related to the Complaint (the "Disclosure Statements"). Relator has also provided the

Attomey General of the State of Illinois a copy of the Evidentiary Disclosure.

        5.     Relator is the original source of the information of the allegations contained in

this Complaint.

        6.     This is also an action to recover damages, civil penalties, and exclusion from all

federal health care programs pursuant to the Anti-kickback Statute.

        7.     This is also an action to obtain damages, assessments, civil monetary penalties,

and exclusion from all federal health care programs pursuant to the CMPL.

                                            PARTIES

         8.    Relator Richard J. Carmel is a citizen and resident of the State of Illinois, United

States of America, and brings this action on behalf of the United States of America and the State

of Illinois.

        9.     Defendant CVS CAREMARK CORPORATION, d/bia CVS PHARMACY and

LONGS DRUG STORES (hereafter "CVS CAREMARK"), is a foreign corporation and is for

all times relevant to this Complaint a Delaware corporation doing business throughout the

United States, including well more than 100 business locations in the State of Illinois, of

which approximately 80 business locations are situated in northern Illinois.
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        10.     Defendant SILVERSCRIPT INSURANCE COMPANY, dlbla SILVER

SCRIPT INSURANCE (hereinafter "SILVERSCRIPT"), is a foreign corporation and is for

all times   relevant   to this Complaint a      Tennessee Corporation wholly-owned           by   CVS

CAREMARK, and doing business throughout the United States, including the State of

Illinois, offering prescription-drug coverage insurance as a Medicare-approved Part D

sponsor.

                                   GENERAL ALLEGATIONS

        11.     Defendant CVS CAREMARK was founded in 1963 and grew to a chain of more

than 7,000 drugstores by January, 2013. Defendant has three operating divisions:
CVSlPharmacy; Caremark Pharmacy Services, which               is a pharmacy benefit      management

company; and MinuteClinic,       a walk-in clinic that operates within        CVS/Pharmacy stores.

Defendant CVS CAREMARK also has a wholly owned subsidiary, Defendant SILVERSCRIPT,

which offers health insurance throughout all 50 states, including Medicare Part D prescription

insurance coverage.

        12.     CVS/Pharmacy is a nationwide chain with stores           in 42 states, ranging from
Illinois to Puerto Rico, Virginia, Louisiana, Missouri, California, Hawaii, and elsewhere.

        L3.     There are approximately 70 Cvs/Phannacy stores in the metropolitan Chicago,

Illinois area and more than 40 additional stores located across the rest of Illinois.

        14.     Providers of pharmacy services compete for the opportunity to           fill customers'
prescriptions. In order to obtain a competitive advantage in obtaining customers' business,           a


number of pharmacies have relied upon specific incentives like discounts to encourage customers

to transfer their business.

        15.     Pharmacies provide discounts as incentives for customers bring prescriptions to




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such pharmacies for fulfillment, to transfer prescriptions from other pharmacies for fulfillment,

and to continue to have such prescriptions fulfilled at such pharmacies, with the goal that the

pharmacy providing the discount will retain the customers'future business.

       16.     Pharmacies also have affiliated insurance companies that encourage members of

their insurance plans to patronize affiliated pharmacies by providing lower prices or greater

benefits for drugs purchased at such pharmacies than at nonaffiliated pharmacies.

       17.     SILVERSCRIPT conspired with CVS CAREMARK to attract customers to the

exclusion of other pharmacies by offering customers insured by SILVERSCRIPT lower prices or

greater benefits   for drugs purchased at CVS CAREMARK's CVSlPharmacy division then at

other pharmacies. In furtherance   of such conspiracy, CVS CAREMARK provided customers

discounts at its CVS/Pharmacy division by providing them with single "points"           for   each

prescription filled, and then providing customers a five dollar discount coupon for each        l0

prescriptions filled   or refilled, for use in   purchase   of goods, wares and merchandise     at

CVS/pharmacy stores.

       18.     Defendant CVS CAREMARK understood that providing discounts to Medicare

and Medicaid recipients initiated federal reporting requirements.

       19.     Despite Defendant CVS/CAREMARK's knowledge               of mandatory reporting
requirements   with regard to federally funded prescription drug coverage. through             its

CVS/Pharmacy division      it gave discounts on prescription drugs that it provided to Medicare

and Medicaid recipients through discount coupons.

       20.     Defendant CVS/CAREMARK, through its CVS/Pharmacy division, also failed

to disclose to Medicare or Medicaid recipients any requirement on the recipients' part to

report such discounts to the federal government.
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       2I.    Defendant CVS CAREMARK, through its CVS/Pharmacy division, allowed

Medicare and Medicaid recipients to benefit from discounts at the expense of Medicare and

Medicaid.

       22.    Defendant CVS CAREMARK, through its CVS/Pharmacy division, failed to

inform its customers, including Relator herein, of the prohibition against Medicare        and

Medicaid recipients' use of its discount coupons, or of any requirement on their part to report

such discounts to the federal government.

       23. In     addition, Defendant CVS CAREMARK, through                its CVS/Pharmacy
division, distributed discount coupons that on their faces did not restrict Medicare       and

Medicaid recipients from gaining the benefit of a coupon at the expense of Medicare and

Medicaid.

       24.    Defendant CVS CAREMARK's prescription drug discounts, provided                 as


aforesaid through     its   CVS/Pharmacy division,     on their face and/or in         practice

remunerated Medicare        and Medicaid recipients as an inducement for            purchasing

prescriptions drugs, without passing that remuneration on to Medicare and Medicaid.

       25.    Such remuneration also acted as an incentive for the beneficiaries of the federal

health care programs        to   purchase   their prescription drugs from Defendant       CVS

CAREMARK, through its CVS/Pharmacy division, in particular.

       26.     Such remuneration also acted as an incentive for those beneficiaries of the

federal health care programs who were insured by SILVERSCRIPT to continue to purchase

their Medicare Part D insurance coverage from SILVERSCRIPT.

       27.     DEFENDANT CVS CAREMARK, through its CVS/Pharmacy division, with the

complicity of Defendant SILVERSCRIPT, concomitantly contravened the False Claims Act,




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31 U.S.C.   *   3729, by certifying, or implicitly certifying, that     it   was in compliance with

Medicare laws, Medicaid laws, the Anti-kickback Statute, and the CMPL; and violated the

MFCA by certifying      it was in compliance with Medicaid laws, thereby causing          the federal

and state governments to pay false claims that they otherwise would not have paid.

                        I. FRAUDULENT CONDUCT IN VIOLATION OF
                             THE ANTI-KICKBACK STATUTE AND
                            THE CIVIL MONETARY PENALTIES LAW

       28.      The fraudulent conduct, in contravention of the provisions of the Anti-kickback

Statute and the CMPL, arises from the provision of improper remuneration to Medicare and

Medicaid recipients in the form of Defendant CVS CAREMARK's CVS/Pharmacy's discount

coupons.

       29.      Through its CvslPharmacy division, Defendant CVS CAREMARK used the

remuneration to induce recipients of federal health care benefits to purchase prescriptions in

order to obtain additional, unrelated general goods, wares and merchandise at the expense of

Medicare and Medicaid.

       30.      Through its CVS/Pharmacy division, Defendant CVS CAREMARK also used the

remuneration as an incentive      for   recipients   of   federal health care benefits    to   purchase

prescriptions from Defendant CVS CAREMARK's CVS/Pharmacy division, in particular.

       31.      The brochures and management practices of Defendant CVS CAREMARK's

CVS/Pharmacy division demonstrate that        all    customers, including Medicare and Medicaid

recipients, were to benefit from these discount coupons.

       32.      Through its Cvs/Pharmacy division, Defendant CVS CAREMARK used the

discount coupons as incentives to attract the business of Medicare and Medicaid recipients.

       33.      CVS/CAREMARK         did not report the        discounts, directly   or   through its
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CVSlPharmacy division, to the federal government or inform the recipients of any duty to report

the discounts to the federal government.

        34.    CVS/CAREMARK did not itself or through its CVS/Pharmacy division, monitor,

or create a monitoring process, to ensure that the discount coupons were not used by recipients of

federal health care benefits.

        35.     In failing to take the appropriate steps to pass the discount on to Medicare and

Medicaid, and in using the discounts as incentives for recipients to obtain services from

CVS/CAREMARK's CVS/Pharmacy division in particular, Defendant CVS CAREMARK

violated the Anti-kickback Statute, the CMPL, the False Claims Act and the MFCA.

        36.    Defendant CVS CAREMARK through its CVS/Pharmacy division, specifically

implemented the following discount programs:

        A.    CVS/pharmacy Fill 10 prescriptions Earn $S extrabucks@ rewards
        Brochure.
        The Brochure describes, in part: Now, there are new ways to earn ExtraBucks
        Rewards:
                       Extra Pharmacy & Health REWARDS

                                Fill    10 prescriptions, earn $5 Pharmacy   &   Health ExtraBucks
                                RewardsrM.


                            : hx*;:;T #iHtril
                                      & Health
                                Pharmacy
                                                              :l#f}:T".l#n          earn
                                                        ExtraBucks Rewards per person every
                                                                                           up,.   $50

                                year.

        The Brochure further provides:

                       THE BENEFITS OF JOINING
                       Q: Is there any reason why I can't participate in this program?
                       A: Everyone can join. (Emphasis supplied.) Rewards cannot be
                       earned for prescriptions purchased in Arkansas, New Jersey or New
                       York; on any prescriptions for controlled substances purchased in
                       Hawaii or Louisiana; or on any prescriptions transferred to a
                        CVS/pharmacy@ in Alabama, Mississippi or Oregon.
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            The foregoing passage states that CVS CAREMARK intends to supply

            a   discount   to any customers fulfilling        prescriptions   at     a


            CVS/Pharmacy.

     ii.    CVS CAREMARK intended that Medicare recipients receive                 the

            brochure and     that CVS CAREMARK intended to                  provide

            "Prescription Discounts" through    its   CVS/Pharmacy division to

            Medicare recipients.

The Brochure further provides:

                YOUR REWARDS
                Q: How will I get the rewards I earn?
                A: $5 Pharmacy &. Health ExtraBucks Rewards will be issued
                approximately 1 week after every 10 credits have been earned.
                Rewards will print on the receipt or at the ExtraCare coupon center
                That. They're also available on CVS.com@'lYou'Il need to have or
                create an online account and attach your ExtraCare card to it.)

     i.     Thus, the Brochure proclaims     in bold, large-font, red and blue
            lettering that CVS/Pharmacy       will provide discounts to            all

            customers, and that any customer filling ten prescriptions is entitled

            to a $5 ExtraBucks RewardsrM.

     ii.    The brochure is designed as an incentive   to   attract customers to   fill
            prescriptions at a CVSlPharmacy and the brochure specifically refers

            to the   benefits that recipients can receive under the heading of

            "extracare pharmacy & health REWARDSTM."

     iii.   There    is no disclaimer anywhere in the brochure stating         that

            ExtraBucks Rewards are not available to customers with Medicaid or

            Medicare coverage.




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      tv.    ExtraBucks Rewards were distributed without regard to the recipient's

             status as a recipient offederal benefits.

             CVS CAREMARK, through its                        CVSlPharmacy division,

             indiscriminately displayed and distributed the Brochure           on its
             pharmacy counters to all members of the public.

      vl.    CVS CAREMARK, through its Cvs/Pharmacy division, failed to

             include any notice on the face of the brochure or on its prescription

             purchase receipts to indicate to Medicaid or Medicare recipients the

             need to report the ExtraBucks Rewards to the federal government.

      vl1.   The purchaser receipts providing ExtraBucks do not restrict a patron

             from using the ExtraBucks rewards to purchase prescription drugs,

             whether with or without a co-pay. Thus, a Medicaid or Medicare

             recipient was allowed to use the ExtraBucks rewards to purchase        a


             prescription in full and then bill the cost back to Medicaid or Medicare

             in contravention of the law.

      viii. Relator observed that CVS did not monitor and report the transactions

             involving the ExtraBucks Rewards            to   ensure that Medicaid or

             Medicare recipients were not using the ExtraBucks Rewards for cash

             purchases of prescriptions.

      ix. In the course of the purchase of general wares and merchandise         at a

             CVS/Pharmacy, Defendant used ExtraBucks rewards that, on their

             face and in practice, remunerated Medicare and Medicaid recipients

             as an inducement for purchasing prescriptions drugs and without




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             passing that remuneration on to Medicare and Medicaid.

 B.   CVS/pharmacy ExtraCare pharmacy & health REWARDS Flyer, which
 CVS Caremark distributed through the U.S. Postal Service to members of the
 ExtraBucks@ Rewards program.

      The Flyer tells customers:

                 More ways to earn $5 ExtraBucks@ Rewards! Atong with credit for
                 the prescriptions you fill, you now can earn on vaccinations and
                             octivities'
                 cvs.com@
                 Prescriptions Fill or refill a prescription I credit
                 Fill or refill a 90-day prescription 3 credits

                 Vaccinations
                 Get a flu shot or vaccination from a CVS pharmacist     I   credit
                 GET 10 credits
                 EARN $5 extrabucks@ rewards

             The Flyer was mailed to CVS/Pharmacy customers without distinction

             between those who were and those who were not Medicare and/or

             Medicaid recipients.

      11.    CVS/Pharmacy distributed these types     of Flyers beginning no later

             than March 2013 throughout the United States.

      111.   Like the Brochure detailed above, the Flyer allows Medicaid and/or

             Medicare recipients to purchase prescriptions    in full, awards them
             ExtraBucks Rewards as described in the Brochure, and then bills the

             cost of prescriptions and vaccinations back to Medicaid or Medicare in

             violation of the law.

      lv.    The ExtraBucks Rewards constitute remuneration in the form of a cash

             equivalent that fails to restrict Medicaid and Medicare recipients from

             using the ExtraBucks rewards to make co-payments.

             Medicare and Medicaid recipients were able to use the ExtraBucks



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                  Rewards to purchase a prescription in    full without any notice on the

                  face of ExtraBucks Rewards or advertisement of any duty that he or

                  she has to report the discount to Medicare or Medicaid.

               vi. CVS/Caremark used ExtraBucks      Rewards that, on their face and in

                  practice, remunerated Medicare and Medicaid recipients as             an

                  inducement for purchasing prescription drugs without passing that

                  remuneration on to Medicare and Medicaid.

       37.      Defendant's corporate policy was to disseminate the above-referenced Brochures,

Flyers and ExtraBucks Rewards to all customers regardless of their participation in Medicare

or Medicaid.

       38.      Defendant CVS CAREMARK, through its CVS Pharmacy division as aforesaid,

failed to make any disclaimer on the Brochures, Flyers or ExtraBucks Rewards cash register

receipts themselves with respect to their use by Medicare and./or Medicaid recipients, but instead

affirmatively offered and supplied the benefits to Medicare and/or Medicaid recipients without

reporting the discounts to Medicaid or Medicare.

       39.      The cash register receipts from CVS/Pharmacy affording ExtraBucks Rewards as

aforesaid did not prevent federal benefits recipients or other customers from using the coupons to

pay the full or a portion of the cost of a prescription, or from applying the same for the purchase

of general wares and merchandise not eligible for Medicare or Medicaid reimbursement.

       40.      Defendant CVS CAREMARK's practices, through its CvsiPharmacy division,

made it possible for Medicare and Medicaid recipients to make cash purchases of prescriptions

and also general wares and merchandise    with its ExtraBucks Rewards cash register receipts and

to also wrongly seek reimbursement from Medicare and Medicaid.




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       41.      On information and belief, Defendant CVS CAREMARK did not report             such

transactions   to the federal authorities, and   Defendant CVS CAREMARK did not notify

customers on the face of the ExtraBucks Rewards cash register receipts of their need to report the

discounts to Medicare or Medicaid.

       42.      On information and belief, Defendant CVS CAREMARK failed to instruct its

employees and pharmacists, in particular, to ensure that such ExtraBucks Rewards were not

awarded   to Medicare and Medicaid recipients, nor to      ensure that Medicare and Medicaid

recipients not use ExtraBucks Rewards toward the purchase of prescriptions or general wares

and merchandise from its Cvs/Pharmacy division.

       43.      Defendant CVS CAREMARK's ExtraBucks Rewards and ExtraBucks

Rewards cash register receipts were designed to optimize sales and resulted in Medicare and

Medicaid recipients obtaining CVS/Pharmacy discounts without proper reporting by

Defendant CVS CAREMARK            or notice to their customers of their need to report the
discounts to the federal government.

                    II. CVS CAREMARK PROVIDED DISCOUNTS                    TO
               MEDICARE AND/OR MEDICAID RECIPIENTS WITHOUT
                 REPORTING THOSE DISCOUNTS OR NOTIFYING
                     RECIPIENTS OF ANY NEED TO REPORT

        44.     In January 20t2, Relator purchased insurance under a Prescription Drug Plan

from Defendant SILVERSCRIPT.

       45.      On June 16, 2013, Relator filled three prescriptions at the CVS/Pharmacy

located at 2000 Skokie Valley Rd., Highland Park,           IL   60035 and contemporaneously

received a receipt stating "ExtraCare Card balances as of 06i08, 1, Quantity Needed to Earn

Reward 9."

       46.      On July 5,2013, Relator filled a prescription at the CVS/Pharmacy located at



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2000 Skokie Valley Rd., Highland Park, IL 60035 and contemporaneously received a receipt

stating "ExtraCare Card balances as of 06/08, 4, Quantity Needed to Earn Reward 6."

       47   .   On July 28,2013, Relator filled two prescriptions at the CVS/Pharmacy located

at 2000 Skokie Valley Rd., Highland Park,     IL 60035 and contemporaneously received     a cash

register receipt stating "ExtraCare Card balances as      of 07115,8, Quantity Needed to   Earn

Reward 2," at the bottom of which cash register receipt was printed a $5 ExtraBucks Reward

that Relator used for the purchase of general wares and merchandise at said CVS/Pharmacy.

       48.      There are numerous recipients    of federal and   state health care benefits who

received the benefit of the CVS/Caremark ExtraBucks Rewards despite the presence or absence

of any disclaimers on the face thereof denying their entitlement to such Rewards.

                                           COUNT I

                          FALSE CLAIMS ACT               CONSPIRACY
                                                     -
       49.      Relator incorporates by reference Paragraphs 1 through 48 of the Complaint.

       50.      Defendant CVS CAREMARK, together with defendant SILVERSCRIPT, and

their employees and other persons or entities known or unknown, conspired to defraud the

United States and the State of Illinois governments by agreeing to present false or

fraudulent claims for payment or approval by the United States and the State of Illinois

governments, which claims were false or fraudulent by virtue of Defendant's, and the co-

conspirators', violation of the Anti-kickback Statute and the CMPL contrary to Defendant's

simultaneous certification, or implied certification, to the United States government and the

State of Illinois that Defendant was in compliance with the Medicare and Medicaid laws,

the Anti-kickback Statute, the CMPL, and other federal and state health care laws. See 31

U.S.C. $ 3729(aX3).




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       51.     The United States government and the State of Illinois were unaware of

Defendants' improper and illegal conduct and made full payment on or approved the false or

fraudulent claims, which resulted in damage in an amount to be determined.

                                              COUNT II
              FALSE CLAIMS ACT               PRESENTATION OF FALSE CLAIMS
                                     -
       52.     Relator incorporates by reference Paragraphs 1 through 51 of the Complaint.

       53.     Defendant CVS CAREMARK knowingly presented or caused to be presented

to the United States and State of Illinois governments false or fraudulent claims for payment

or approval, which claims were false or fraudulent by virtue of Defendant's violation of the

Anti-kickback Statute and the CMPL contrary to Defendant's simultaneous certification, or

implied certification, to the United States and State of Illinois governments that Defendant

was in compliance with the Medicare and Medicaid laws, the Anti-kickback Statute, the

CMPL, and other federal and state health care laws. See 31 U.S.C. g 3729(a)(1).

       54.     The United States government and the State of Illinois were unaware of

Defendant CVS CAREMARK's improper and illegal conduct and made                   full payment on or
approved the false or fraudulent claims, which resulted           in   damage   in an amount to be
determined.

                                             COUNT III
               FALSE CLAIMS ACT              FALSE RECORD OR STATEMENT
                                         -
       55.     Relator incorporates by reference Paragraphs   I   through 54 of the Complaint.

       56.     Defendant CVS CAREMARK knowingly made, used, or caused to be made or

used, a false record or statement to get a false or fraudulent claim paid or approved by the

United States and State of Illinois governments, which claims were false or fraudulent by

virtue of Defendant's violation of the Anti-kickback Statute and the CMPL contrary to

Defendant's simultaneous certification, or implied certification, to the United States and State


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of Illinois governments that Defendant was in compliance with the Medicare and Medicaid

laws, the Anti-kickback Statute, the CMPL, and other federal and state health care laws. See

31 U.S.C. 93729(a)(2).

       57.    The United States government and the State               of Illinois were unaware of
Defendant CVS CAREMARK's improper and illegal conduct and made                   full payment   on or

approved the false or fraudulent claims, which resulted           in   damage   in an amount    to be

determined.

                                        COUNT IV
                        VIOLATIONS OF THE ANTI-KICKBACK STATUTE
                         AND THE CIVIL MONETARY PENALTIES LAW

       58.    Relator incorporates by reference Paragraphs 1 through 57 of the Complaint.

       59.    The provisions of 42 U.S.C. $ 1320a-7b(bx1)-(3), commonly known as the

Anti-kickback Statute, provide in relevant part   as   follows:

        (b) Illegal remunerations
               *{<***

               (2) whoever knowingly and willfully offers or pays any remuneration (including
               any kickback, bribe, or rebate) directly or indirectly, overtly or covertly, in cash
               or in kind to any person to induce such person-
                        (A) to refer an individual to a person for the fumishing or arranging for
                       the furnishing of any item or service for which payment may be made in
                       whole or in part under a Federal health care program, or
                        (B) to purchase, lease, order, or alTange for or recommend purchasing,
                       leasing, or ordering any good, facility, service, or item for which payment
                       may be made in whole or in part under a Federal health care program,
                       shall be guilty of a felony and upon conviction thereof, shall be fined not
                       more than $25,000 or imprisoned for not more than five years, or both.

              (3) Paragraphs (1) and (2) shall not apply to-
                      (A) a discount or other reduction in price obtained by a provider of
                      services or other entity under a Federal health care program if the
                      reduction in price is properly disclosed and appropriately reflected in the
                      costs claimed or charges made by the provider or entity under a Federal
                      health care program;
               *x**
                         (E) any payment practice specified by the Secretary in regulations
                         promulgated pursuant to section 14(a) of the Medicare and Medicaid


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                        Patient and Program Protection Act of 1987;

          60. The provisions of 42 U.S.C. $            1320a-7 provides     for the exclusion of
individuals and entities from participation in any Federal health care program, and states in

relevant part as follows:

          (b) Permissive exclusion
          The Secretary may exclude the following individuals and entities from participation in
          any Federal health care program (as defined in section 1320a-7b(t) of this title):
                 (7) Fraud, kickbacks, and other prohibited activities
                        Any individual or entity that the secretary determines has committed
                         an act which is described in section 1320a-7a, 1320a-7b, or l32Oa-8
                        of this title.

          61.    In short, an individual or entity is subject to the penalties of the Anti-kickback

Statute and to exclusion from participation      in any Federal health care program when that
individual or entity knowingly and willfully offers or pays any remuneration, which includes

kickbacks, bribes, or rebates, either directly or indirectly, overtly or covertly, in cash or in

kind to any person to induce such person to purchase, lease, order, or arrange for or

recommend purchasing, leasing, or ordering any good, facility, service, or item for which

payment may be made in whole or in part under a federal health care program. See 42 U.S.C.

$   $ 1 320a7b(bx2)(b) and 1320a-7 (b)(7).

         62.    The provisions of 42 U.S.C. S I320a-7 a, which provisions are known             as

the   Civil Monetary Penalties Law (sometimes, "CMPL"), provide in relevant part                as

follows:

         (a) Improperly filed claims
         Any person (including an organization, agency, or other entity, but excluding a
         beneficiary, as defined in subsection (iX5) of this section) that-

         (1) knowingly presents or causes to be presented to an officer, employee, or agent of
             the United States, or of any department or agency thereof, or of any State agency
             (as defined in subsection (i)(1) of this section), a claim (as defined in subsection
             (i)(2) of this section) that the Secretary determines-
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      (B) is for a medical or other item or service and the person knows or should know the
      claim is false or fraudulent,
              *x**
      (5) offers to or transfers remuneration to any individual eligible for benefits under
      subchapter XVIII of this chapter, or under a State health care program (as defined in
      section 1320a-7(h) of this title) that such person knows or should know is likely to
      influence such individual to order or receive from a particular provider, practitioner, or
      supplier any item or service for which payment may be made, in whole or in part,
      under subchapter XVIII of this chapter, or a State health care program (as so defined);
              ****
      (7) commits an act described in paragraph (1) or (2) of section 1320a-7b(b) of this title;
      shall be subject, in addition to any other penalties that may be prescribed by law, to a
      civil money penalty of not more than $10,000 for each item or service (or, in cases
      under paragraph (3), $15,000 for each individual with respect to whom false or
      misleading information was given; in cases under paragraph (4), $10,000 for each day
      the prohibited relationship occurs; or in cases under paragraph (7), $50,000 for each
      such act). In addition, such a person shall be subject to an assessment of not more
      than 3 times the amount claimed for each such item or service in lieu of damages
      sustained by the United States or a State agency because of such claim (or, in cases
      under paragraph (7), damages of not more than 3 times the total amount of
      remuneration offered, paid, solicited, or received, without regard to whether a portion
      of such remuneration was offered, paid, solicited, or received for a lawful purpose). In
      addition the Secretary may make a determination in the same proceeding to exclude
      the person from participation in the Federal health care programs (as defined in section
       1320a-7b(D(1) of this title) and to direct the appropriate State agency to exclude the
      person from participation in any State health care program.



       63.     In short, an individual or entity, excluding a federal health care
program beneficiary, is subject to the penalties and assessments of the CMPL and to

exclusion from participation in any federal health care program when that individual or entity

(1) knowingly presents or causes to be presented to the United States government a claim for

an item or service and the person knows or should know the claim is false or fraudulent; (2)

offers to or transfers remuneration to a federal health care program beneficiary that the

offeror/transferor knows or should know is likely to influence the beneficiary to order or

receive "from a particular provider, practitioner or supplier" [emphasis added] any item or

service for which payment is made in whole or part under a federal or state health care


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program; or (3) commits a violation of the Anti-kickback Statute. See 42 U.S.C. $$ 1320a-

7a(aX1XB), (aX5), (aX7), and 1320a-7(b)(7).

        64.      Defendant CVS CAREMARK is also liable under the CMPL for actions of its

agent-employees committed within the scope          of the agency or employment.    See   42 U.S.C.   $


1320a-7a(l).

        65.      On information and belief, as required by law, Defendant CVS CAREMARK

expressly certified to the government that Defendant was in compliance with all federal health

care law, which includes the Anti-Kickback Statute and CMPL, and relied upon that certification

to obtain reimbursement from Medicare, Medicaid, and other federal health care programs for

goods, facilities, services, or items provided to one or more federal health care beneficiaries.

        66.      Defendant CVS CAREMARK also implicitly cetified to the government that

Defendant was in compliance with all federal health care law's, including the Anti-Kickback

Statute and the CMPL, and used such certification to obtain reimbursement from Medicare,

Medicaid, and other federal health care programs for goods, facilities, services, or items provided

to one or more federal health care beneficiaries.

        67.      As set forth in the preceding paragraphs, including the General Allegations,

supra, Defendant CVS CAREMARK, by and through its CVS/Pharmacy division, offered to

pay andior did pay remuneration, including ExtraBucks Rewards certificates , to induce

beneficiaries   of Medicare, Medicaid, and other federal and state health care programs to
purchase or order prescriptions from Defendant CVS CAREMARK.

        68.      Defendant CVS CAREMARK, by and through its Cvs/Pharmacy division,

failed to reflect these discounts in the claims or charges for reimbursement that          it made to
Medicare, Medicaid, and other federal and state health care programs by and through its




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subsidiary, SILVERSCRIPT, and other insurance companies.

        69.    Instead   of passing on the above discounts to Medicare, Medicaid, and other

federal and state health care programs, Defendant CVS CAREMARK, by and through its

CVS/Pharmacy division, provided the remuneration directly to the federal and state health care

program beneficiaries.

        70.    Defendant also used the remuneration as incentive for federal and state health

care beneficiaries to obtain prescriptions from its CVS/Pharmacy   division, in particular.

        71.    Despite withholding the existence of the discounts from the federal and state

health care programs, Defendant CVS CAREMARK,                by and through its          subsidiary,

Defendant SILVERSCRIPT, and other insurance companies, claimed reimbursement from

Medicare, Medicaid, and other federal and state health care programs in the full amount of

the good, service, or item provided while contemporaneously certifying, both explicitly and

implicitly, that Defendant CVS CAREMARK was in compliance with all federal and                 state

health care laws, including the Anti-kickback Statute and the CMPL.


        72.    Defendant CVS CAREMARK performed the above illegal and improper acts

through its CVS/Pharmacy division, and also directed its and their agents and employees to

commit the same illegal and improper acts in the course of, and within the scope of, their

employment.

        73. If the United        States government had been aware            of   Defendant' CVS

CAREMARK s improper and illegal conduct as aforesaid, including the false certifications, the

government would not have made payment on or approved Defendant CVS CAREMARK's

claims through CVSlPharmacy for reimbursement under Medicare, Medicaid, and other federal

or state health care programs.



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        74. By           agreement    and by law, Defendants CVS CAREMARK                      and

SILVERSCRIPT were required to comply with all Federal health care law, which includes

the Anti-Kickback Statute, the CMPL, and the rules and regulations of Medicare, Medicaid,

and the United States Department of Health and Human Services. Defendants acted with

actual knowledge, deliberate ignorance, and/or reckless disregard          in submitting false or

fraudulent claims to the government and in providing remuneration to influence federal or

state health care beneficiaries to order or receive goods from a particular supplier.

         75.    As a result of Defendant CVS CAREMARK's false and fraudulent certifications

and claims for reimbursement, and defendant SILVERSCRIPT's complicity in those instances

where customers were insured by SILVERSCRIPT, Defendants have violated the False Claims

Act, the Illinois Medicaid False Claims Act and caused the United States government to suffer

damages.

                                        PRAYER FOR RELIEF

        WHEREFORE, Relator, on behalf of himself and of the United States and the State of

Illinois, requests judgment   as   follows:

        A.      The United States and the State of Illinois are entitled to reimbursement of the

funds obtained by Defendants as a result of fraudulent claims submitted to the United States and

the State of Illinois.

        B.      The United States is entitled to a civil penalty of $5,500 to $11,000, adjusted for

inflation, for each false or fraudulent claim plus 3 times the damages sustained by the United

States as a result   of each such false or fraudulent claim.   See 31 U.S.C.   9 3729(a);28 C.F.R.

8s.3(aX9).

        C.       The United States is entitled to a civil monetary penalty of $10,000 to $50,000 for




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each violation   of the CMPL or the Anti-kickback Statute, plus an assessment of not more than

three times the amount of each false or fraudulent claim without regard to damages actually

sustained by the United States. See 42 U.S.C. $ 1320a-7a(a).

       D.        The United States is entitled to exclude Defendants from participation in any

federal health care program. See 42 U.S.C. $ 1320a-7(bx7).

       E.        Relator, Richard J. Carmel, is entitled to an amount for reasonable expenses

necessarily incurred, plus reasonable attorneys' fees and costs. See   3l U.S.C. $ 3730(d).

       F.        Relator, Richard J. Carmel, is entitled to an order of partial distribution of the

damages, penalties, assessments, and other relief awarded to the United States         in an amount

equivalent to a percentage    of the entire recovery as set forth in 31 U.S.C. $ 3730(d); such

percentage distribution is in addition to Relator's recovery of expenses, attorneys' fees, and costs.

Dated: August 20,2013                                          Respectfully submitted,



                                                               By:  Terence Buehler
                                                               Touhy, Touhy & Buehler
                                                               Attorney for Plaintiff-Relator
                                                               55 West Wacker Dr., 14th floor
                                                               Chicago, IL 60601
                                                               312-372-2209

                                                               Vincent DiTommaso
                                                               Peter Lubin
                                                               DiTommaso-Lubin P.C.
                                                               The Oak Brook Terrace Atrium
                                                               17W220 22d Street, Suite 200
                                                               Oak Brook Terrace, IL 60181




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                            DEMAND FOR TRIAL BY JURY

      NOW COMES Plaintiff/Relator, Richard J. Carmel, on behalf of himself and the United

States of America and the State   of Illinois, by and through his attorneys, TOUHY, TOUHY &

BUEHLER,LLP, and hereby demands a jury trial in the above-captioned matter.




                                                          Touhy, Touhy & Buehler
                                                          By: Terence Buehler
                                                          Attorney for Plaintiff-Relator
                                                          55 West Wacker Dr., 14th floor
                                                          Chicago, IL 60601
                                                          312-372-2209
Dated: August 20,2013




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